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IN THE UNITED STATES DISTRICT COURT GLERK OF pr
FOR THE SOUTHERN DISTRICT OF IOWA SOUTHERN Oj STRICT COURT

STRICT OF iowa

UNITED STATES OF AMERICA, ) Criminal No. 1:20-cr-010
)
v. } INDICTMENT
)
CASEY RAY GANTT, and ) T. 21, U.S.C. §§ 841(a)(1),(b)C)(A)
ANGELA DEE GARGES, ) T. 21, U.S.C. §§ 846, 853
) T. 28, U.S.C, § 2461(c)
Defendants. )
THE GRAND JURY CHARGES:
COUNT 1

(Conspiracy to Distribute a Controlled Substance)

From an unknown date but beginning at least as early as November 22, 2019, and
continuing up to and including January 29, 2020 in the Southern District of lowa and elsewhere,
the Defendants, CASEY RAY GANTT and AN GELA DEE GARGES, conspired with each other
and with other persons, known and unknown to the Grand Jury, to knowingly and intentionally,
distribute a controlled substance, namely 50 grams or more of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

This is a violation of Title 21, United States Code, Sections 846 and 841(b)\(1}{A).

- THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Possession with Intent to Distribute a Controlled Substance)

On or about January 24, 2020, in the Southern District of Iowa, the Defendant, CASEY
RAY GANTT, did knowingly and intentionally possess with intent to distribute a controlled
substance, namely 50. grams or more of methamphetamine, a Schedule II controlled substance.

This is a violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

 
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THE GRAND JURY FURTHER CHARGES:

COUNT 3
(Possession with Intent to Distribute a Controlled Substance)

On or about January 29, 2020, in the Southern District of Iowa, the Defendant, ANGELA
DEE GARGES, did knowingly and intentionally possess with intent to distribute a controlled
substance, namely 50 grams or more of methamphetamine, a Schedule IT controlled substance.

This is a violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

THE GRAND JURY FINDS:

NOTICE OF FORFEITURE

Upon conviction for any offense alleged in this Indictment, the Defendant, CASEY RAY
GANTT and ANGELA DEE GARGES, shall forfeit to the United States, pursuant to Title 21,
United States Code, Section 853, and Title 28, United States Code, Section 2461(c), $4662.00
United States currency used and involved in the commission of or proceeds from said offense.

A TRUE BILL.

 

FOREPERSON ~

Marc Krickbaum
United States Attorney

 

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\esistant nn States Attorney

 
